                                           Case 21-40018-reg          Doc 18         Filed 02/16/21           Page 1 of 4
 Fill in this information to identify your case:
 Debtor 1               Alejandro Gutierrez
                              First Name            Middle Name          Last Name
 Debtor 2
 (Spouse, if filing) First Name      Middle Name           Last Name
 United States Bankruptcy Court for the:         NORTHERN DISTRICT OF INDIANA                                          Check if this is an amended plan, and
                                                                                                                       list below the sections of the plan that
 Case number:                                                                                                          have been changed.
                                                                                                                       Page 4 was missing from original
 (If known)


Official Form 113
Chapter 13 Plan                                                                                                                                          12/17


 Part 1:       Notices

To Debtor(s):              This form sets out options that may be appropriate in some cases, but the presence of an option on the form does not
                           indicate that the option is appropriate in your circumstances or that it is permissible in your judicial district. Plans that
                           do not comply with local rules and judicial rulings may not be confirmable.

                           In the following notice to creditors, you must check each box that applies

To Creditors:              Your rights may be affected by this plan. Your claim may be reduced, modified, or eliminated.
                           You should read this plan carefully and discuss it with your attorney if you have one in this bankruptcy case. If you do not have
                           an attorney, you may wish to consult one.

                           If you oppose the plan’s treatment of your claim or any provision of this plan, you or your attorney must file an objection to
                           confirmation at least 7 days before the date set for the hearing on confirmation, unless otherwise ordered by the Bankruptcy
                           Court. The Bankruptcy Court may confirm this plan without further notice if no objection to confirmation is filed. See
                           Bankruptcy Rule 3015. In addition, you may need to file a timely proof of claim in order to be paid under any plan.

                           The following matters may be of particular importance. Debtors must check one box on each line to state whether or not the
                           plan includes each of the following items. If an item is checked as “Not Included” or if both boxes are checked, the provision
                           will be ineffective if set out later in the plan.

 1.1          A limit on the amount of a secured claim, set out in Section 3.2, which may result in              Included                   Not Included
              a partial payment or no payment at all to the secured creditor
 1.2          Avoidance of a judicial lien or nonpossessory, nonpurchase-money security interest,                Included                   Not Included
              set out in Section 3.4.
 1.3          Nonstandard provisions, set out in Part 8.                                                         Included                   Not Included


 Part 2:       Plan Payments and Length of Plan

2.1           Debtor(s) will make regular payments to the trustee as follows:

$1,675.00 per Month for 60 months

Insert additional lines if needed.

              If fewer than 60 months of payments are specified, additional monthly payments will be made to the extent necessary to make the
              payments to creditors specified in this plan.

2.2           Regular payments to the trustee will be made from future income in the following manner.

              Check all that apply:
                       Debtor(s) will make payments pursuant to a payroll deduction order.
                       Debtor(s) will make payments directly to the trustee.
                       Other (specify method of payment):

2.3 Income tax refunds.
    Check one.
                  Debtor(s) will retain any income tax refunds received during the plan term.


APPENDIX D                                                                   Chapter 13 Plan                                                    Page 1
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                                          Case 21-40018-reg                     Doc 18       Filed 02/16/21        Page 2 of 4

 Debtor                Alejandro Gutierrez                                                               Case number

                          Debtor(s) will supply the trustee with a copy of each income tax return filed during the plan term within 14 days of filing the
                          return and will turn over to the trustee all income tax refunds received during the plan term.

                          Debtor(s) will treat income refunds as follows:



2.4 Additional payments.
    Check one.
                  None. If “None” is checked, the rest of § 2.4 need not be completed or reproduced.

2.5          The total amount of estimated payments to the trustee provided for in §§ 2.1 and 2.4 is $100,500.00.

 Part 3:      Treatment of Secured Claims

3.1          Maintenance of payments and cure of default, if any.

        Check one.
                 None. If “None” is checked, the rest of § 3.1 need not be completed or reproduced.
                 The debtor(s) will maintain the current contractual installment payments on the secured claims listed below, with any changes
                 required by the applicable contract and noticed in conformity with any applicable rules. These payments will be disbursed either
                 by the trustee or directly by the debtor(s), as specified below. Any existing arrearage on a listed claim will be paid in full through
                 disbursements by the trustee, with interest, if any, at the rate stated. Unless otherwise ordered by the court, the amounts listed on
                 a proof of claim filed before the filing deadline under Bankruptcy Rule 3002(c) control over any contrary amounts listed below
                 as to the current installment payment and arrearage. In the absence of a contrary timely filed proof of claim, the amounts stated
                 below are controlling. If relief from the automatic stay is ordered as to any item of collateral listed in this paragraph, then, unless
                 otherwise ordered by the court, all payments under this paragraph as to that collateral will cease, and all secured claims based on
                 that collateral will no longer be treated by the plan. The final column includes only payments disbursed by the trustee rather than
                 by the debtor(s).
 Name of Creditor Collateral                     Current installment Amount of                    Interest rate    Monthly payment Estimated
                                                 payment                   arrearage (if any) on arrearage on arrearage                  total
                                                 (including escrow)                               (if applicable)                        payments by
                                                                                                                                         trustee

 Sun West                      11074 Briar Hill
 Mortgage                      Dr. Demotte, IN                                            Prepetition:
 Company, Inc.                 46310                                       $1,033.69          $1,500.00          0.00%       set by trustee        set by claim
                                                                     Disbursed by:
                                                                        Trustee
                                                                        Debtor(s)
Insert additional claims as needed.

3.2          Request for valuation of security, payment of fully secured claims, and modification of undersecured claims. Check one.

                          None. If “None” is checked, the rest of § 3.2 need not be completed or reproduced.

3.3          Secured claims excluded from 11 U.S.C. § 506.

             Check one.
                     None. If “None” is checked, the rest of § 3.3 need not be completed or reproduced.
                     The claims listed below were either:

                          (1) incurred within 910 days before the petition date and secured by a purchase money security interest in a motor vehicle
                              acquired for the personal use of the debtor(s), or

                          (2) incurred within 1 year of the petition date and secured by a purchase money security interest in any other thing of value.

                          These claims will be paid in full under the plan with interest at the rate stated below. These payments will be disbursed either by
                          the trustee or directly by the debtor(s), as specified below. Unless otherwise ordered by the court, the claim amount stated on a
                          proof of claim filed before the filing deadline under Bankruptcy Rule 3002(c) controls over any contrary amount listed below. In
                          the absence of a contrary timely filed proof of claim, the amounts stated below are controlling. The final column includes only
                          payments disbursed by the trustee rather than by the debtor(s).


Official Form 113                                                                      Chapter 13 Plan                                         Page 2
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                                          Case 21-40018-reg              Doc 18        Filed 02/16/21         Page 3 of 4

 Debtor                Alejandro Gutierrez                                                         Case number

 Name of Creditor                    Collateral                      Amount of claim          Interest rate      Monthly plan      Estimated total
                                                                                                                 payment           payments by trustee
 Teachers Credit                     2011 Dodge Durango
 Union                               135,000 miles                   $9,851.00                       4.50%        set by trustee
                                                                                                                 Disbursed by:
                                                                                                                    Trustee
                                                                                                                    Debtor(s)

Insert additional claims as needed.

3.4          Lien avoidance.

Check one.
                          None. If “None” is checked, the rest of § 3.4 need not be completed or reproduced.

3.5          Surrender of collateral.

             Check one.
                     None. If “None” is checked, the rest of § 3.5 need not be completed or reproduced.

 Part 4:      Treatment of Fees and Priority Claims

4.1          General
             Trustee’s fees and all allowed priority claims, including domestic support obligations other than those treated in § 4.5, will be paid in full
             without postpetition interest.

4.2          Trustee’s fees
             Trustee’s fees are governed by statute and may change during the course of the case but are estimated to be 10.00% of plan payments; and
             during the plan term, they are estimated to total $10,050.00.

4.3          Attorney's fees.

             The balance of the fees owed to the attorney for the debtor(s) is estimated to be $2,250.00.

4.4          Priority claims other than attorney’s fees and those treated in § 4.5.

             Check one.
                     None. If “None” is checked, the rest of § 4.4 need not be completed or reproduced.

4.5          Domestic support obligations assigned or owed to a governmental unit and paid less than full amount.

             Check one.
                     None. If “None” is checked, the rest of § 4.5 need not be completed or reproduced.



 Part 5:      Treatment of Nonpriority Unsecured Claims

5.1          Nonpriority unsecured claims not separately classified.

             Allowed nonpriority unsecured claims that are not separately classified will be paid, pro rata. If more than one option is checked, the option
             providing the largest payment will be effective. Check all that apply.

                The sum of $       .
                     % of the total amount of these claims, an estimated payment of $     .
                The funds remaining after disbursements have been made to all other creditors provided for in this plan.



                If the estate of the debtor(s) were liquidated under chapter 7, nonpriority unsecured claims would be paid approximately
                $ $6,600.00 . Regardless of the options checked above, payments on allowed nonpriority unsecured claims will be made in at least
                this amount.


Official Form 113                                                                Chapter 13 Plan                                               Page 3
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                                          Case 21-40018-reg          Doc 18         Filed 02/16/21         Page 4 of 4

 Debtor                Alejandro Gutierrez                                                    Case number

5.2          Maintenance of payments and cure of any default on nonpriority unsecured claims. Check one.

                          None. If “None” is checked, the rest of § 5.2 need not be completed or reproduced.

5.3          Other separately classified nonpriority unsecured claims. Check one.

                          None. If “None” is checked, the rest of § 5.3 need not be completed or reproduced.

 Part 6:      Executory Contracts and Unexpired Leases

6.1          The executory contracts and unexpired leases listed below are assumed and will be treated as specified. All other executory
             contracts and unexpired leases are rejected. Check one.

                          None. If “None” is checked, the rest of § 6.1 need not be completed or reproduced.



 Part 7:      Vesting of Property of the Estate

7.1        Property of the estate will vest in the debtor(s) upon
      Check the appliable box:
            plan confirmation.
            entry of discharge.
            other:

 Part 8:      Nonstandard Plan Provisions

8.1          Check "None" or List Nonstandard Plan Provisions
                    None. If “None” is checked, the rest of Part 8 need not be completed or reproduced.

 Part 9:      Signature(s):

9.1       Signatures of Debtor(s) and Debtor(s)’ Attorney
If the Debtor(s) do not have an attorney, the Debtor(s) must sign below, otherwise the Debtor(s) signatures are optional. The attorney for Debtor(s),
if any, must sign below.


 X     /s/ Juan A. Perez Jr.                                                 Date    February 8, 2021
       Juan A. Perez Jr.
       Signature of Attorney for Debtor(s)
Perez & Perez
P.O. Box 943
Indianapolis, IN 46206
Phone: (317) 634-5968
Fax: (317) 634-5966
jay@perezlawindiana.com




Official Form 113                                                          Chapter 13 Plan                                             Page 4
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